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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF VIRGINIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Kimberly
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        L.
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Berry
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names. DBA Blaine Transport, LLC
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4318
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Kimberly L. Berry                                                                         Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.              XX-XXXXXXX
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 495 Ravenscroft Road
                                 South Prince George, VA 23805
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Prince George
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Kimberly L. Berry                                                                             Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Kimberly L. Berry                                                                              Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Debtor 1    Kimberly L. Berry                                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Kimberly L. Berry                                                                             Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Kimberly L. Berry
                                 Kimberly L. Berry                                                 Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     December 16, 2022                                 Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Christopher M. Winslow                                         Date         December 16, 2022
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Christopher M. Winslow 76156
                                Printed name

                                Winslow & McCurry, PLLC
                                Firm name

                                1324 Sycamore Square
                                Midlothian, VA 23113
                                Number, Street, City, State & ZIP Code

                                Contact phone     804-423-1382                               Email address         chris@wmmlegal.com
                                76156 VA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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Fill in this information to identify your case:

Debtor 1                   Kimberly L. Berry
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  EASTERN DISTRICT OF VIRGINIA

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          2,314,424.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              51,312.99

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          2,365,736.99

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,104,544.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             158,659.80

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             440,405.64


                                                                                                                                    Your total liabilities $             1,703,609.44


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                6,865.59

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,691.43

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $          6,865.58


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            158,659.80

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

     9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                  0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


     9g. Total. Add lines 9a through 9f.                                                           $            158,659.80




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                         page 2 of 2
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Fill in this information to identify your case and this filing:

Debtor 1                    Kimberly L. Berry
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      EASTERN DISTRICT OF VIRGINIA

Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       495 Ravenscroft Road                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative


       South Prince                                                                   Manufactured or mobile home
                                                                                                                                 Current value of the       Current value of the
       George                            VA        23805-0000                         Land                                       entire property?           portion you own?
       City                              State              ZIP Code                  Investment property                               $499,950.00                $249,975.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Joint w/ Rebecca Berry
       Prince George                                                                  Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Current Market Analsysis $499,950
                                                                               Tax Assessment - $603,100




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
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Debtor 1        Kimberly L. Berry                                                                                      Case number (if known)

      If you own or have more than one, list here:
1.2                                                                   What is the property? Check all that apply
      210 Unit 22 Walnut Boulevard                                           Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the       Current value of the
      Petersburg                        VA        23805-0000                 Land                                            entire property?           portion you own?
      City                              State              ZIP Code          Investment property                                      $92,500.00                 $92,500.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Sole
      Petersburg City                                                        Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      CMA $92,500
                                                                      NO LIENS HOA $325 months
                                                                      Tax Assessment - $93,700


      If you own or have more than one, list here:
1.3                                                                   What is the property? Check all that apply
      310 Pleasants Lane                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the       Current value of the
      Petersburg                        VA        23805-0000                 Land                                            entire property?           portion you own?
      City                              State              ZIP Code          Investment property                                    $124,950.00                $124,950.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Sole
      Petersburg City                                                        Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      CMA $124,950
                                                                      Tax Assessment - $104,600




Official Form 106A/B                                                     Schedule A/B: Property                                                                          page 2
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Debtor 1        Kimberly L. Berry                                                                                      Case number (if known)

      If you own or have more than one, list here:
1.4                                                                   What is the property? Check all that apply
      323 N. Crater Road                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the       Current value of the
      Petersburg                        VA        23803-0000                 Land                                            entire property?           portion you own?
      City                              State              ZIP Code          Investment property                                      $80,000.00                 $80,000.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only
      Petersburg City                                                        Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      CMA $80,000
                                                                      Tax Assessment - $40,200


      If you own or have more than one, list here:
1.5                                                                   What is the property? Check all that apply
      4815 Courthouse Road                                                   Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the       Current value of the
      Prince George                     VA        23875-0000                 Land                                            entire property?           portion you own?
      City                              State              ZIP Code          Investment property                                    $260,000.00                $260,000.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Sole
      Prince George                                                          Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      CMA $260,000
                                                                      Tax Assessment - $274,800




Official Form 106A/B                                                     Schedule A/B: Property                                                                          page 3
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Debtor 1        Kimberly L. Berry                                                                                      Case number (if known)

      If you own or have more than one, list here:
1.6                                                                   What is the property? Check all that apply
      1800 North 30th Street                                                 Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the       Current value of the
      Richmond                          VA                                   Land                                            entire property?           portion you own?
      City                              State              ZIP Code          Investment property                                    $348,000.00                $348,000.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Sole
                                                                             Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      CMA $348,000
                                                                      NO LIens
                                                                      Deed was recorded 2/15/2018
                                                                      Tax Assessment - $151,000


      If you own or have more than one, list here:
1.7                                                                   What is the property? Check all that apply
      208 Fulham Circle                                                      Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the       Current value of the
      Henrico                           VA                                   Land                                            entire property?           portion you own?
      City                              State              ZIP Code          Investment property                                    $378,000.00                $378,000.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Sole
                                                                             Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      CMA $378,000
                                                                      Deed unrecorded December 20, 2017 - Mortgage in Jesse Moore name
                                                                      (Jesse A. Moore)




Official Form 106A/B                                                     Schedule A/B: Property                                                                          page 4
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      If you own or have more than one, list here:
1.8                                                                   What is the property? Check all that apply
      4242 Frederick Fams Drive                                              Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the       Current value of the
      Midlothian                        VA        23112-0000                 Land                                            entire property?           portion you own?
      City                              State              ZIP Code          Investment property                                    $229,600.00                $229,600.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Sole
      Chesterfield                                                           Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      CMA $229,600
                                                                      Unrecorded deed 2018
                                                                      (Jesse Moore, mortgage listed in his name)


      If you own or have more than one, list here:
1.9                                                                   What is the property? Check all that apply
      487 Three Ridges                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the       Current value of the
      Nelson                            VA                                   Land                                            entire property?           portion you own?
      City                              State              ZIP Code          Investment property                                    $130,400.00                $130,400.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Sole
                                                                             Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      Unrecorded deed
                                                                      (Estate of Ernest Thompson)




Official Form 106A/B                                                     Schedule A/B: Property                                                                          page 5
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Debtor 1        Kimberly L. Berry                                                                                      Case number (if known)

      If you own or have more than one, list here:
1.1
0                                                                     What is the property? Check all that apply
      19109 Temple Avenue                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description
                                                                                                                             the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the       Current value of the
      Colonial Heights                  VA        23834-0000                 Land                                            entire property?           portion you own?
      City                              State              ZIP Code          Investment property                                    $210,999.00                $210,999.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Sole
      Colonial Heights C                                                     Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      CMA $210,999
                                                                      Tax Assessment - $194,200


      If you own or have more than one, list here:
1.1
1                                                                     What is the property? Check all that apply
      19230 W. Brevard                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                             Single-family home
                                                                                                                             the amount of any secured claims on Schedule D:
      Street address, if available, or other description
                                                                             Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the       Current value of the
      Colonial Heights                  VA        23834-0000                 Land                                            entire property?           portion you own?
      City                              State              ZIP Code          Investment property                                    $210,000.00                $210,000.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Sole
      Colonial Heights C                                                     Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      CMA $210,000
                                                                      Tax Assessment - $326,100




Official Form 106A/B                                                     Schedule A/B: Property                                                                          page 6
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Debtor 1          Kimberly L. Berry                                                                                             Case number (if known)

        If you own or have more than one, list here:
1.1
2                                                                            What is the property? Check all that apply

                                                                                      Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the       Current value of the
                                                                                      Land                                            entire property?           portion you own?
        City                              State              ZIP Code                 Investment property                                               $0.00                    $0.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only
                                                                                      Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             House is moms 922 Forest View Drive Colonial Heights, VA 23834
                                                                             Debtor is not on deed but name is on deed of trust


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                         $2,314,424.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         BMW                                             Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        7.45                                               Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2002                                               Debtor 2 only                                               Current value of the      Current value of the
          Approximate mileage:                Inoperable                   Debtor 1 and Debtor 2 only                                  entire property?          portion you own?
          Other information:                                               At least one of the debtors and another
         Vehicle is Inoperable and does
         not run                                                           Check if this is community property                                   $1,000.00                  $1,000.00
         NO Liens                                                          (see instructions)

         Value debtor's estimate $1,000


  3.2     Make:         Toyota                                          Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Forerunner                                         Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         1999                                               Debtor 2 only                                               Current value of the      Current value of the
          Approximate mileage:                     150,000                 Debtor 1 and Debtor 2 only                                  entire property?          portion you own?
          Other information:                                               At least one of the debtors and another
         Value KBB $3,955
                                                                           Check if this is community property                                   $3,955.00                  $3,955.00
                                                                           (see instructions)




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  3.3    Make:      Jaguar                                   Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     XK                                          Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2009                                        Debtor 2 only                                                Current value of the       Current value of the
         Approximate mileage:                90,000             Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
         Other information:                                     At least one of the debtors and another
         Does not run, NO LIENS
                                                                Check if this is community property                                      $200.00                     $200.00
                                                                 (see instructions)



  3.4    Make:      Mercedez Benz                            Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     C300                                        Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2019                                        Debtor 2 only                                                Current value of the       Current value of the
         Approximate mileage:                47000              Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
         Other information:                                     At least one of the debtors and another
         Titled: Blaine Tansport, LLC
         Leased w/ MB: Blaine Tansport,                         Check if this is community property                                            $0.00                    $0.00
         LLC                                                     (see instructions)




  3.5    Make:      Toyota                                   Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     FJ                                          Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2014                                        Debtor 2 only                                                Current value of the       Current value of the
         Approximate mileage:              100,000              Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
         Other information:                                     At least one of the debtors and another
         KBB Value $10,842
                                                                Check if this is community property                                  $10,842.00                  $10,842.00
                                                                 (see instructions)



  3.6    Make:      Peterbilt                                Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Tractor                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      1997                                        Debtor 2 only                                                Current value of the       Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
         Other information:                                     At least one of the debtors and another
         Titled: Blaine Tansport, LLC
         Tax Assessment $7,000                                  Check if this is community property                                    $7,000.00                  $7,000.00
                                                                 (see instructions)



  3.7    Make:      Chevrolet                                Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Malibu                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      1966                                        Debtor 2 only                                                Current value of the       Current value of the
         Approximate mileage:              130,000              Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
         Other information:                                     At least one of the debtors and another
         NO Liens;
         NADA Value $16,500                                     Check if this is community property                                  $16,500.00                  $16,500.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                  $39,497.00



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Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                  Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                               Household Goods                                                                                                   $3,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               TVs, laptop, cell phone                                                                                           $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

                               Firearms: (1) 380 $175; (1) 9MM $200                                                                                $375.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                               Women's Clothes.                                                                                                    $650.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                               4 Rings, Misc. Costume Jewelry                                                                                    $1,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....



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14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                         $6,525.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                               Cash
                                                                                                                               (Approximate)
                                                                                                                               .                                 $2,000.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                          BSV Business Checking Account $582.10
                                                                          BSV Business Savings Account $67.71
                                                                          Citizens Business Checking Account $21.97
                                                                          Citizens Checking Account $526.33
                                                        Business Checking Citizens Savings Account $692.68
                                            17.1.       & Savings         Wells Fargo Checking Account $400                                                      $2,290.99


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                                                  Institution name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                      page 10
           Case 22-33571-KRH                          Doc 1      Filed 12/16/22 Entered 12/16/22 13:09:16                               Desc Main
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Debtor 1        Kimberly L. Berry                                                                           Case number (if known)

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                       Beneficiary:                          Surrender or refund
                                                                                                                                         value:

                                          Any and all life insurance policies that
                                          the debtor is listed as a beneficiary.                                                                    Unknown




Official Form 106A/B                                                 Schedule A/B: Property                                                              page 11
           Case 22-33571-KRH                               Doc 1         Filed 12/16/22 Entered 12/16/22 13:09:16                                             Desc Main
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Debtor 1        Kimberly L. Berry                                                                                               Case number (if known)

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
       Yes. Describe each claim.........

                                                         Potential law suit against Jesse Moore. (Abuse of Process)                                                       Unknown


                                                         Potential law suit against Jesse Moore. (Abuse of Process)                                                       Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................            $4,290.99


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.

      Yes. Go to line 38.


                                                                                                                                                              Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

38. Accounts receivable or commissions you already earned
       No
       Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       No
       Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
       Yes. Describe.....


                                       Trucking tools, equipment & maintainance                                                                                           $1,000.00


41. Inventory
       No
       Yes. Describe.....


Official Form 106A/B                                                          Schedule A/B: Property                                                                          page 12
            Case 22-33571-KRH                                Doc 1           Filed 12/16/22 Entered 12/16/22 13:09:16                                               Desc Main
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Debtor 1         Kimberly L. Berry                                                                                                     Case number (if known)


42. Interests in partnerships or joint ventures
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                                                       % of ownership:


43. Customer lists, mailing lists, or other compilations
      No.
      Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....


44. Any business-related property you did not already list
       No
       Yes. Give specific information.........



45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here.....................................................................................................................              $1,000.00

Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................            $2,314,424.00
56. Part 2: Total vehicles, line 5                                                                           $39,497.00
57. Part 3: Total personal and household items, line 15                                                       $6,525.00
58. Part 4: Total financial assets, line 36                                                                   $4,290.99
59. Part 5: Total business-related property, line 45                                                          $1,000.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $51,312.99              Copy personal property total          $51,312.99

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $2,365,736.99




Official Form 106A/B                                                              Schedule A/B: Property                                                                        page 13
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Fill in this information to identify your case:

Debtor 1               Kimberly L. Berry
                       First Name                    Middle Name                Last Name

Debtor 2
(Spouse if, filing)    First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        EASTERN DISTRICT OF VIRGINIA

Case number
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     495 Ravenscroft Road South Prince                      $249,975.00                                $25,000.00      Va. Code Ann. § 34-4
     George, VA 23805 Prince George
     County                                                                        100% of fair market value, up to
     Current Market Analsysis $499,950                                             any applicable statutory limit
     Tax Assessment - $603,100
     Line from Schedule A/B: 1.1

     2002 BMW 7.45 Inoperable miles                            $1,000.00                                 $1,000.00     Va. Code Ann. § 34-26(8)
     Vehicle is Inoperable and does not
     run                                                                           100% of fair market value, up to
     NO Liens                                                                      any applicable statutory limit
     Value debtor's estimate $1,000
     Line from Schedule A/B: 3.1

     1999 Toyota Forerunner 150,000                            $3,955.00                                 $3,955.00     Va. Code Ann. § 34-26(8)
     miles
     Value KBB $3,955                                                              100% of fair market value, up to
     Line from Schedule A/B: 3.2                                                   any applicable statutory limit

     2009 Jaguar XK 90,000 miles                                   $200.00                                 $200.00     Va. Code Ann. § 34-26(8)
     Does not run, NO LIENS
     Line from Schedule A/B: 3.3                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
           Case 22-33571-KRH                    Doc 1    Filed 12/16/22 Entered 12/16/22 13:09:16                                   Desc Main
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Debtor 1    Kimberly L. Berry                                                                  Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Household Goods                                         $3,500.00                                  $3,500.00        Va. Code Ann. § 34-26(4a)
    Line from Schedule A/B: 6.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    TVs, laptop, cell phone                                 $1,000.00                                  $1,000.00        Va. Code Ann. § 34-26(4a)
    Line from Schedule A/B: 7.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Firearms: (1) 380 $175; (1) 9MM $200                       $375.00                                   $375.00        Va. Code Ann. § 34-26(4b)
    Line from Schedule A/B: 10.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Women's Clothes.                                           $650.00                                   $650.00        Va. Code Ann. § 34-26(4)
    Line from Schedule A/B: 11.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    4 Rings, Misc. Costume Jewelry                          $1,000.00                                  $1,000.00        Va. Code Ann. § 34-4
    Line from Schedule A/B: 12.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Cash (Approximate).                                     $2,000.00                                  $2,000.00        Va. Code Ann. § 34-4
    Line from Schedule A/B: 16.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Business Checking & Savings: BSV                        $2,290.99                                  $1,529.03        Va. Code Ann. § 34-4
    Business Checking Account $582.10
    BSV Business Savings Account                                                 100% of fair market value, up to
    $67.71                                                                       any applicable statutory limit
    Citizens Business Checking Account
    $21.97
    Citizens Checking Account $526.33
    Citizens Savings Account $692.68
    Wells Fargo Checking Account $400
    Line from Schedule A/B: 17.1


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
             Case 22-33571-KRH                       Doc 1         Filed 12/16/22 Entered 12/16/22 13:09:16                                      Desc Main
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Fill in this information to identify your case:

Debtor 1                   Kimberly L. Berry
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             EASTERN DISTRICT OF VIRGINIA

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
2.1     Citizensbk                               Describe the property that secures the claim:               $134,203.00               $260,000.00                     $0.00
        Creditor's Name                          4815 Courthouse Road Prince
                                                 George, VA 23875 Prince George
                                                 County
                                                 CMA $260,000
                                                 Tax Assessment - $274,800
                                                 As of the date you file, the claim is: Check all that
        126 S Main St                            apply.
        Blackstone, VA 23824                         Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                      car loan)
    Debtor 2 only
      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)   2nd DOT
      community debt

                                Opened
                                3/13/14
                                Last Active
Date debt was incurred          09/22                     Last 4 digits of account number        0100




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 8
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Debtor 1 Kimberly L. Berry                                                                                   Case number (if known)
              First Name                  Middle Name                      Last Name


2.2     Citizensbk                                 Describe the property that secures the claim:                    $48,313.00        $124,950.00        $0.00
        Creditor's Name                            310 Pleasants Lane Petersburg, VA
                                                   23805 Petersburg City County
                                                   CMA $124,950
                                                   Tax Assessment - $104,600
                                                   As of the date you file, the claim is: Check all that
        126 S Main St                              apply.
        Blackstone, VA 23824                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                1/27/15
                                Last Active
Date debt was incurred          9/13/22                     Last 4 digits of account number         0400


2.3     Citizensbk                                 Describe the property that secures the claim:                    $48,125.00        $499,950.00        $0.00
        Creditor's Name                            495 Ravenscroft Road South Prince
                                                   George, VA 23805 Prince George
                                                   County
                                                   Current Market Analsysis $499,950
                                                   Tax Assessment - $603,100
                                                   As of the date you file, the claim is: Check all that
        126 S Main St                              apply.
        Blackstone, VA 23824                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   2nd DOT
      community debt

                                Opened
                                5/07/15
                                Last Active
Date debt was incurred          9/02/22                     Last 4 digits of account number         8825




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 8
            Case 22-33571-KRH                           Doc 1         Filed 12/16/22 Entered 12/16/22 13:09:16                               Desc Main
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Debtor 1 Kimberly L. Berry                                                                                   Case number (if known)
              First Name                  Middle Name                      Last Name


2.4     Citizensbk                                 Describe the property that secures the claim:                    $40,158.00        $260,000.00         $0.00
        Creditor's Name                            4815 Courthouse Road Prince
                                                   George, VA 23875 Prince George
                                                   County
                                                   CMA $260,000
                                                   Tax Assessment - $274,800
                                                   As of the date you file, the claim is: Check all that
        126 S Main St                              apply.
        Blackstone, VA 23824                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   1st DOT
      community debt

                                Opened
                                1/27/15
                                Last Active
Date debt was incurred          9/13/22                     Last 4 digits of account number         0500


2.5     Citizensbk                                 Describe the property that secures the claim:                   $139,040.00              $0.00   $139,040.00
        Creditor's Name                            House is moms 922 Forest View
                                                   Drive Colonial Heights, VA 23834
                                                   Debtor is not on deed but name is
                                                   on deed of trust
                                                   As of the date you file, the claim is: Check all that
        126 S Main St                              apply.
        Blackstone, VA 23824                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
      community debt

                                Opened
                                3/18/22
                                Last Active
Date debt was incurred          09/22                       Last 4 digits of account number         1200




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 8
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Debtor 1 Kimberly L. Berry                                                                                   Case number (if known)
              First Name                  Middle Name                      Last Name


        Freedom Mortgage
2.6                                                Describe the property that secures the claim:                   $306,381.00        $499,950.00        $0.00
        Corporation
        Creditor's Name                            495 Ravenscroft Road South Prince
                                                   George, VA 23805 Prince George
                                                   County
        Attn: Bankruptcy                           Current Market Analsysis $499,950
        907 Pleasant Valley Ave,                   Tax Assessment - $603,100
                                                   As of the date you file, the claim is: Check all that
        Ste 3                                      apply.
        Mt Laurel, NJ 08054                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
      community debt

                                Opened
                                06/11 Last
                                Active
Date debt was incurred          8/29/22                     Last 4 digits of account number         3281


2.7     Fulton Mortgage                            Describe the property that secures the claim:                    $48,000.00         $80,000.00        $0.00
        Creditor's Name                            323 N. Crater Road Petersburg, VA
                                                   23803 Petersburg City County
                                                   CMA $80,000
                                                   Tax Assessment - $40,200
                                                   As of the date you file, the claim is: Check all that
        P.O. Box 4887                              apply.
        Lancaster, PA 17604                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
      community debt

Date debt was incurred          2/13/2009                   Last 4 digits of account number         6000




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4 of 8
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Debtor 1 Kimberly L. Berry                                                                                   Case number (if known)
              First Name                  Middle Name                      Last Name


2.8     Internal Revenue Service                   Describe the property that secures the claim:                    $77,527.00            $0.00    $77,527.00
        Creditor's Name                            Tax Lien Petersburg - Attaches to all
        Centralized Insolvency                     Petersburg Properties
        Unit
        P O Box 7346                               As of the date you file, the claim is: Check all that
                                                   apply.
        Philadelphia, PA                                Contingent
        19101-7346
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number


        Langley Federal Credit
2.9                                                                                                                 $14,744.00        $10,842.00    $3,902.00
        Union                                      Describe the property that secures the claim:
        Creditor's Name                            2014 Toyota FJ 100,000 miles
                                                   KBB Value $10,842
        Attn: Bankruptcy
                                                   As of the date you file, the claim is: Check all that
        Po Box 120128                              apply.
        Newport News, VA 23612                          Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Title - Business Expenses
      community debt

                                Opened
                                11/18 Last
                                Active
Date debt was incurred          8/06/22                     Last 4 digits of account number         0002




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 5 of 8
            Case 22-33571-KRH                           Doc 1         Filed 12/16/22 Entered 12/16/22 13:09:16                               Desc Main
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Debtor 1 Kimberly L. Berry                                                                                   Case number (if known)
              First Name                  Middle Name                      Last Name


2.1     Mercedes-Benz Financial
0       Services                                   Describe the property that secures the claim:                      $8,963.00             $0.00   $8,963.00
        Creditor's Name                            2019 Mercedez Benz C300 47000
                                                   miles
                                                   Titled: Blaine Tansport, LLC
        Attn: Bankruptcy                           Leased w/ MB: Blaine Tansport, LLC
                                                   As of the date you file, the claim is: Check all that
        Po Box 685                                 apply.
        Roanoke, TX 76262                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Business Title - Lease
      community debt

                                Opened
                                4/28/20
                                Last Active
Date debt was incurred          8/06/22                     Last 4 digits of account number         9001


2.1     PennyMac Loan
1       Services, LLC                              Describe the property that secures the claim:                   $139,897.00        $210,000.00        $0.00
        Creditor's Name                            19230 W. Brevard Colonial Heights,
                                                   VA 23834 Colonial Heights C
                                                   County
        Attn: Correspondence                       CMA $210,000
        Unit                                       Tax Assessment - $326,100
                                                   As of the date you file, the claim is: Check all that
        Po Box 514387                              apply.
        Los Angeles, CA 90051                           Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
      community debt

                                Opened
                                06/12 Last
Date debt was incurred          Active 09/22                Last 4 digits of account number         0521




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 6 of 8
            Case 22-33571-KRH                           Doc 1         Filed 12/16/22 Entered 12/16/22 13:09:16                                             Desc Main
                                                                     Document     Page 31 of 71
Debtor 1 Kimberly L. Berry                                                                                   Case number (if known)
              First Name                  Middle Name                      Last Name


2.1     Wells Fargo Home
2       Mortgage                                   Describe the property that secures the claim:                    $99,193.00                $210,999.00              $0.00
        Creditor's Name                            19109 Temple Avenue Colonial
                                                   Heights, VA 23834 Colonial Heights
                                                   C County
        Attn: Written                              CMA $210,999
        Correspondence                             Tax Assessment - $194,200
                                                   As of the date you file, the claim is: Check all that
        Po Box 10335                               apply.
        Des Moines, IA 50306                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                         car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                06/07 Last
Date debt was incurred          Active 09/22                Last 4 digits of account number         6903



  Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,104,544.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                $1,104,544.00

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.6
           Freedom Mortgage Corporation
           P.o. Box 50485                                                                            Last 4 digits of account number
           Indianapolis, IN 46250

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.9
           Langley Federal Credit Union
           721 Lakefront Commons                                                                     Last 4 digits of account number
           Newport News, VA 23612

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.10
           Mercedes-Benz Financial Services
           P.o. Box 961                                                                              Last 4 digits of account number
           Roanoke, TX 76262

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.11
           PennyMac Loan Services, LLC
           Po Box 514387                                                                             Last 4 digits of account number
           Los Angeles, CA 90051

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.12
           Wells Fargo Home Mortgage
           Po Box 10335                                                                              Last 4 digits of account number
           Des Moines, IA 50306


Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                page 7 of 8
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Debtor 1 Kimberly L. Berry                                                 Case number (if known)
          First Name         Middle Name              Last Name




Official Form 106D      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property           page 8 of 8
              Case 22-33571-KRH                        Doc 1       Filed 12/16/22 Entered 12/16/22 13:09:16                                            Desc Main
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Fill in this information to identify your case:

Debtor 1                     Kimberly L. Berry
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                EASTERN DISTRICT OF VIRGINIA

Case number
(if known)                                                                                                                                             Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim           Priority           Nonpriority
                                                                                                                                            amount             amount
2.1          Charles City County Treasurer                       Last 4 digits of account number                                    $7.55              $7.55                 $0.00
             Priority Creditor's Name
             P.O. Box 38                                         When was the debt incurred?
             Charles City, VA 23030
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       Personal Property Taxes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 8
                                                                                                              44500
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Debtor 1 Kimberly L. Berry                                                                        Case number (if known)

2.2      Charles City County Treasurer                      Last 4 digits of account number                           $506.25     $506.25        $0.00
         Priority Creditor's Name
         P.O. Box 38                                        When was the debt incurred?
         Charles City, VA 23030
         Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                        Contingent
          Debtor 1 only                                        Unliquidated
          Debtor 2 only                                        Disputed
          Debtor 1 and Debtor 2 only                        Type of PRIORITY unsecured claim:

          At least one of the debtors and another              Domestic support obligations

          Check if this claim is for a community debt          Taxes and certain other debts you owe the government
      Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
          No                                                   Other. Specify
          Yes                                                                   Blaine Tansport, LLC
                                                                                Business Property Taxes

2.3      City of Petersburg                                 Last 4 digits of account number     4318                $1,200.00    $1,200.00       $0.00
         Priority Creditor's Name
         Treasurer                                          When was the debt incurred?
         Post Office Box 1271
         Petersburg, VA 23804
         Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                        Contingent
          Debtor 1 only                                        Unliquidated
          Debtor 2 only                                        Disputed
          Debtor 1 and Debtor 2 only                        Type of PRIORITY unsecured claim:

          At least one of the debtors and another              Domestic support obligations

          Check if this claim is for a community debt          Taxes and certain other debts you owe the government
      Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
          No                                                   Other. Specify
          Yes                                                                   Real estate taxes

2.4      Commonwealth of VA-Tax                             Last 4 digits of account number     4318              $25,134.00    $25,134.00       $0.00
         Priority Creditor's Name
         P.O. Box 2156                                      When was the debt incurred?         2018
         Richmond, VA 23218-2156
         Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                        Contingent
          Debtor 1 only                                        Unliquidated
          Debtor 2 only                                        Disputed
          Debtor 1 and Debtor 2 only                        Type of PRIORITY unsecured claim:

          At least one of the debtors and another              Domestic support obligations

          Check if this claim is for a community debt          Taxes and certain other debts you owe the government
      Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
          No                                                   Other. Specify
          Yes                                                                   Tax year 2017-2021




Official Form 106 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 2 of 8
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Debtor 1 Kimberly L. Berry                                                                                Case number (if known)

2.5        Internal Revenue Service                               Last 4 digits of account number       6268             $130,000.00            $130,000.00                     $0.00
           Priority Creditor's Name
           Centralized Insolvency Unit                            When was the debt incurred?           2016-2022
           P O Box 7346
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                         2015-2021

2.6        Richmond City R/E Tax                                  Last 4 digits of account number       5710                $1,812.00              $1,812.00                    $0.00
           Priority Creditor's Name
           P.O. Box 26505                                         When was the debt incurred?           2022
           Richmond, VA 23261
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                         Real Estate Tax: 1800 N. 30th St.


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 3 of 8
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Debtor 1 Kimberly L. Berry                                                                       Case number (if known)

4.1      Capital One/SaksFirst                               Last 4 digits of account number       2685                                               $10,493.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 02/14 Last Active
         Po Box 30285                                        When was the debt incurred?           9/05/22
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.2      Capital One/SaksFirst                               Last 4 digits of account number       2899                                                $7,341.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 05/07 Last Active
         Po Box 30285                                        When was the debt incurred?           9/07/22
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.3      Citibank                                            Last 4 digits of account number       5277                                                $7,565.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 08/12 Last Active
         P.O. Box 790034                                     When was the debt incurred?           9/09/22
         St Louis, MO 63179
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 8
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Debtor 1 Kimberly L. Berry                                                                       Case number (if known)

4.4      Citibank/The Home Depot                             Last 4 digits of account number       9342                                                $4,350.00
         Nonpriority Creditor's Name
         Citicorp Credit Srvs/Centralized Bk                                                       Opened 01/09 Last Active
         dept                                                When was the debt incurred?           9/13/22
         Po Box 790034
         St Louis, MO 63179
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.5      Citizensbk                                          Last 4 digits of account number       1400                                                $1,400.00
         Nonpriority Creditor's Name
         126 S Main St                                       When was the debt incurred?
         Blackstone, VA 23824
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Loan


4.6      Comenitybank/vicsecrmc                              Last 4 digits of account number       0818                                                 $111.00
         Nonpriority Creditor's Name
                                                                                                   Opened 05/22 Last Active
                                                             When was the debt incurred?           6/25/22
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 8
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Debtor 1 Kimberly L. Berry                                                                       Case number (if known)

4.7      Macys/fdsb                                          Last 4 digits of account number       2646                                                $1,142.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 06/00 Last Active
         9111 Duke Boulevard                                 When was the debt incurred?           8/20/22
         Mason, OH 45040
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.8      Syncb/Old Navy                                      Last 4 digits of account number       3507                                                $2,004.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 08/05 Last Active
         Po Box 965060                                       When was the debt incurred?           9/09/22
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.9      U.S. Small Adminstration                            Last 4 digits of account number       7755                                              $386,000.00
         Nonpriority Creditor's Name
         14925 Kingsport Road                                When was the debt incurred?           2021
         Fort Worth, TX 76155
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   EIDL Loan




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 8
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Debtor 1 Kimberly L. Berry                                                                         Case number (if known)

4.1
0         Virginia Farm Bureau Mutual                          Last 4 digits of account number       1342                                                  $2,220.64
          Nonpriority Creditor's Name
          P.O. Box 27552                                       When was the debt incurred?           2022
          Richmond, VA 23261
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Service


4.1
1         Wells Fargo Bank NA                                  Last 4 digits of account number       8322                                                 $17,779.00
          Nonpriority Creditor's Name
                                                                                                     Opened 06/08 Last Active
          1 Home Campus Mac X2303-01a                          When was the debt incurred?           9/07/22
          Des Moines, IA 50328
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Capital One/SaksFirst                                    Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
3455 Hwy 80 West                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Jackson, MS 39209
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Capital One/SaksFirst                                    Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
3455 Hwy 80 West                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Jackson, MS 39209
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Citibank                                                 Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Po Box 6217                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Sioux Falls, SD 57117
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Citibank/The Home Depot                                  Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Po Box 6497                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 7 of 8
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                                                                 Document     Page 40 of 71
Debtor 1 Kimberly L. Berry                                                                              Case number (if known)

Sioux Falls, SD 57117
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Macys/fdsb                                                   Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Po Box 6789                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Sioux Falls, SD 57117
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Syncb/Old Navy                                               Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
P.o. Box 8803                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Wilmington, DE 19899
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Wells Fargo Bank NA                                          Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Po Box 14517                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Des Moines, IA 50306
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                  158,659.80
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                  158,659.80

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                           0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                  440,405.64

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                  440,405.64




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 8 of 8
              Case 22-33571-KRH                         Doc 1        Filed 12/16/22 Entered 12/16/22 13:09:16                          Desc Main
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Fill in this information to identify your case:

Debtor 1                  Kimberly L. Berry
                          First Name                         Middle Name            Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name            Last Name


United States Bankruptcy Court for the:               EASTERN DISTRICT OF VIRGINIA

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                  State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Adrian Gatling                                                             Residential Lease


     2.2      Daniel Smith                                                               Residential Lease


     2.3      Jerry & Phyliss Barnes                                                     Residential Lease


     2.4      Johnnie Jenkins                                                            Residential Lease


     2.5      Paul Johnson                                                               Residential Lease


     2.6      Pete Wink                                                                  Commercial Lease




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
             Case 22-33571-KRH                           Doc 1         Filed 12/16/22 Entered 12/16/22 13:09:16                Desc Main
                                                                      Document     Page 42 of 71
Fill in this information to identify your case:

Debtor 1                   Kimberly L. Berry
                           First Name                           Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name        Last Name


United States Bankruptcy Court for the:                 EASTERN DISTRICT OF VIRGINIA

Case number
(if known)                                                                                                                     Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         Rebecca D. Berry                                                                      Schedule D, line   2.6
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G
                                                                                                   Freedom Mortgage Corporation



   3.2         Rebecca D. Berry                                                                       Schedule D, line   2.5
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G
                                                                                                   Citizensbk




Official Form 106H                                                             Schedule H: Your Codebtors                                   Page 1 of 1
             Case 22-33571-KRH                    Doc 1    Filed 12/16/22 Entered 12/16/22 13:09:16                              Desc Main
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Fill in this information to identify your case:

Debtor 1                      Kimberly L. Berry

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF VIRGINIA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Self-Employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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                                                       Document     Page 44 of 71

Debtor 1   Kimberly L. Berry                                                                     Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
     5e.    Insurance                                                                     5e.        $              0.00     $               N/A
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
     5g.    Union dues                                                                    5g.        $              0.00     $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      6,865.58         $               N/A
     8b. Interest and dividends                                                           8b.        $          0.00         $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
     8e. Social Security                                                                  8e.        $              0.00     $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
     8h. Other monthly income. Specify: Amortized tax refund????                          8h.+ $                    0.01 + $                 N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          6,865.59         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              6,865.59 + $             N/A = $          6,865.59
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $         6,865.59
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: See Schedule J




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                 Kimberly L. Berry                                                                 Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            2,673.43

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                           725.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Kimberly L. Berry                                                                         Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 350.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 536.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                861.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 81.00
10.   Personal care products and services                                                    10. $                                                  95.00
11.   Medical and dental expenses                                                            11. $                                                  50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                  20.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: Misc. Expenses                                                  17c. $                                                  100.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,691.43
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,691.43
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,865.59
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,691.43

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,174.16

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: The Debtor anticipates the following changes to income or expenses:
                          She has been getting several properties ready to rent. All properties will sustain themselves. She does
                          not have any arrearages on the properties. Her boyfriend works for her for free and she pays his living
                          expenses in the home and truck payment in return for driving.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                    Kimberly L. Berry
                            First Name             Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name              Last Name


United States Bankruptcy Court for the:         EASTERN DISTRICT OF VIRGINIA

Case number
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                      Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                        Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Kimberly L. Berry                                              X
             Kimberly L. Berry                                                  Signature of Debtor 2
             Signature of Debtor 1

             Date       December 16, 2022                                       Date




Official Form 106Dec                               Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:

Debtor 1                  Kimberly L. Berry
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          EASTERN DISTRICT OF VIRGINIA

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until              Wages, commissions,                      $80,000.00           Wages, commissions,
the date you filed for bankruptcy:             bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
           Case 22-33571-KRH                       Doc 1       Filed 12/16/22 Entered 12/16/22 13:09:16                                     Desc Main
                                                              Document     Page 49 of 71
Debtor 1     Kimberly L. Berry                                                                         Case number (if known)



                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income                Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.            (before deductions
                                                                                exclusions)                                                     and exclusions)

For last calendar year:                            Wages, commissions,                      $47,675.00           Wages, commissions,
(January 1 to December 31, 2021 )               bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


For the calendar year before that:                 Wages, commissions,                     $148,697.00           Wages, commissions,
(January 1 to December 31, 2020 )               bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income                Gross income
                                                Describe below.                 each source                    Describe below.                  (before deductions
                                                                                (before deductions and                                          and exclusions)
                                                                                exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe
      Freedom Mortgage Corporation                         September -                      $8,019.00         $306,381.00              Mortgage
      Attn: Bankruptcy                                     December 2022                                                               Car
      907 Pleasant Valley Ave, Ste 3
                                                                                                                                       Credit Card
      Mt Laurel, NJ 08054
                                                                                                                                       Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other




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Debtor 1     Kimberly L. Berry                                                           Case number (if known)



      Creditor's Name and Address            Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                   paid            still owe
      PennyMac Loan Services, LLC            September -                      $3,606.00         $139,897.00         Mortgage
      Attn: Correspondence Unit              December 2022                                                          Car
      Po Box 514387
                                                                                                                    Credit Card
      Los Angeles, CA 90051
                                                                                                                    Loan Repayment
                                                                                                                    Suppliers or vendors
                                                                                                                    Other


      Citizensbk                             September -                      $1,299.00          $48,313.00         Mortgage
      126 S Main St                          December 2022                                                          Car
      Blackstone, VA 23824
                                                                                                                    Credit Card
                                                                                                                    Loan Repayment
                                                                                                                    Suppliers or vendors
                                                                                                                    Other


      Citizensbk                             September -                      $2,673.43          $48,125.00         Mortgage
      126 S Main St                          December 2022                                                          Car
      Blackstone, VA 23824
                                                                                                                    Credit Card
                                                                                                                    Loan Repayment
                                                                                                                    Suppliers or vendors
                                                                                                                    Other


      Fulton Mortgage                        September -                      $1,293.00          $48,000.00         Mortgage
      P.O. Box 4887                          December 2022                                                          Car
      Lancaster, PA 17604
                                                                                                                    Credit Card
                                                                                                                    Loan Repayment
                                                                                                                    Suppliers or vendors
                                                                                                                    Other


      Citizensbk                             September -                      $1,080.00          $40,158.00         Mortgage
      126 S Main St                          December 2022                                                          Car
      Blackstone, VA 23824
                                                                                                                    Credit Card
                                                                                                                    Loan Repayment
                                                                                                                    Suppliers or vendors
                                                                                                                    Other


      Citizensbk                             September -                      $3,153.00         $134,203.00         Mortgage
      126 S Main St                          December 2022                                                          Car
      Blackstone, VA 23824
                                                                                                                    Credit Card
                                                                                                                    Loan Repayment
                                                                                                                    Suppliers or vendors
                                                                                                                    Other


      Langley Federal Credit Union           September -                      $1,335.00          $14,744.00         Mortgage
      Attn: Bankruptcy                       December 2022                                                          Car
      Po Box 120128
                                                                                                                    Credit Card
      Newport News, VA 23612
                                                                                                                    Loan Repayment
                                                                                                                    Suppliers or vendors
                                                                                                                    Other




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Debtor 1     Kimberly L. Berry                                                                     Case number (if known)



      Creditor's Name and Address                      Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                             paid            still owe
      Mercedes-Benz Financial Services                 September -                      $1,920.00            $8,963.00        Mortgage
      Attn: Bankruptcy                                 December 2022                                                          Car
      Po Box 685
                                                                                                                              Credit Card
      Roanoke, TX 76262
                                                                                                                              Loan Repayment
                                                                                                                              Suppliers or vendors
                                                                                                                              Other


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                       Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                             paid            still owe
      Rebecca Berry                                    2021                           $40,000.00          $157,000.00       Property repairs on rentals
      922 Forest View Drive
      Colonial Heights, VA


8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                       Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                             paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                       Nature of the case           Court or agency                         Status of the case
      Case number
      401 West Broad Street LLC v.                     Complaint -                  Richmond City Circuit                      Pending
      Kimberly L. Berry                                Motion to Reverse            Court                                      On appeal
      CL19001331-00                                                                 400 N. 9th Street
                                                                                                                               Concluded
                                                                                    Richmond, VA 23219
                                                                                                                            Appeal denied for plaintiff

      Jesse Moore v. Kimberly L. Berry                 Complaint -                  Richmond City Circuit                      Pending
      CL20000071-00                                    Motion to Reverse            Court                                      On appeal
                                                                                    400 N. 9th Street
                                                                                                                               Concluded
                                                                                    Richmond, VA 23219

      401 West Broad Street LLC v.                     Lis Pendens                  Petersburg Circuit Court                   Pending
      Kimberly L. Berry                                                             7 Courthouse Avenue                        On appeal
      CL19000414-00                                                                 Petersburg, VA 23803
                                                                                                                               Concluded

                                                                                                                            Dismissed w/ Prejudice

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Debtor 1     Kimberly L. Berry                                                                           Case number (if known)



      Case title                                             Nature of the case           Court or agency                          Status of the case
      Case number
      Jesse Moore v. Kimberly L. Berry                       Complaint - Lis              Prince George Circuit Court                 Pending
      CL20000100-00                                          Pendens                      Post Office Box 187                         On appeal
                                                                                          Prince George, VA 23875
                                                                                                                                      Concluded


      Jesse A. Moore v. Kimberly L.                          Complaint -                  Henrico County Circuit                      Pending
      Moore                                                  Motion to Reverse            Court                                       On appeal
      CL19003014-00                                                                       Post Office Box 27032
                                                                                                                                      Concluded
                                                                                          Richmond, VA 23273

      Jesse A. Moore v. Kimberly L.                          Adversary                    EDVA Richmond Division                      Pending
      Berry                                                                               701 E. Broad Street                         On appeal
      20-21-3041                                                                          Suite                                       Concluded
                                                                                          Richmond, VA 23219


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                         Value of the
                                                                                                                                                            property
                                                             Explain what happened
      Internal Revenue Service                               Tax Lien Petersburg - Attaches to all                          January 2022                $297,450.00
      Centralized Insolvency Unit                            Petersburg Properties
      P O Box 7346
      Philadelphia, PA 19101-7346                                Property was repossessed.
                                                                 Property was foreclosed.
                                                                 Property was garnished.

                                                                 Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was                 Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                     Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:




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Debtor 1     Kimberly L. Berry                                                                       Case number (if known)



14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total            Describe what you contributed                           Dates you                       Value
      more than $600                                                                                                    contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and              Describe any insurance coverage for the loss                      Date of your         Value of property
      how the loss occurred                           Include the amount that insurance has paid. List pending          loss                              lost
                                                      insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                       Description and value of any property                   Date payment               Amount of
      Address                                                   transferred                                             or transfer was             payment
      Email or website address                                                                                          made
      Person Who Made the Payment, if Not You
      Winslow & McCurry, PLLC                                   $0.00 = $350 costs + $0.00 applied to                                                   $0.00
      1324 Sycamore Square                                      atty fee
      Midlothian, VA 23113                                      Total: $350 = USB Filing fee $313/ CIN
      chris@wmmlegal.com                                        Credit Report $37


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                       Description and value of any property                   Date payment               Amount of
      Address                                                   transferred                                             or transfer was             payment
                                                                                                                        made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
           Yes. Fill in the details.
      Person Who Received Transfer                              Description and value of                  Describe any property or          Date transfer was
      Address                                                   property transferred                      payments received or debts        made
                                                                                                          paid in exchange
      Person's relationship to you
      Unknown receipient                                        705 Fort Hayes Court                      $100,000                          2020
                                                                Petersburg, VA 23805




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Debtor 1      Kimberly L. Berry                                                                          Case number (if known)



      Person Who Received Transfer                                 Description and value of                   Describe any property or     Date transfer was
      Address                                                      property transferred                       payments received or debts   made
                                                                                                              paid in exchange
      Person's relationship to you
      Unknown Individual                                           2563 Glendayle Avenue                      $73,000                      2020
                                                                   Petersburg, VA 23805



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                       Date Transfer was
                                                                                                                                           made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was          Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,         before closing or
      Code)                                                                                                           moved, or                      transfer
                                                                                                                      transferred
      Sonabank                                               XXXX-                          Checking                  December 2022                 $600.00
      P.O. Box 038997                                                                       Savings
      Tuscaloosa, AL 35403                                                                  Money Market
                                                                                            Brokerage
                                                                                           Other Account
                                                                                         1351 / 6041
                                                                                         Checking &
                                                                                         Savings Account


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?            Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                            have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access            Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                    have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)




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Debtor 1     Kimberly L. Berry                                                                              Case number (if known)



Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                        Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you       Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you       Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                 Status of the
      Case Number                                                Name                                                                          case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation




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Debtor 1      Kimberly L. Berry                                                                         Case number (if known)



            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                        Describe the nature of the business               Employer Identification number
       Address                                                                                                Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                              Dates business existed
       Blaine Transport, LLC                                Trucking                                          EIN:         XX-XXXXXXX
       495 Ravenscroft Drive
       Petersburg, VA 23805                                                                                   From-To      June 2007-Current

       Blaine Consulting Group, LLC                         Just a business name - Has not                    EIN:
       495 Ravenscroft Road                                 operated business
       South Prince George, VA 23805                                                                          From-To


       Berry Group & Associates                             Just a name - Has not operated                    EIN:
       495 Ravenscroft Road                                 business
       South Prince George, VA 23805                                                                          From-To



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                 Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

       Citibank                                             June 2022 and every year before
       P.O. Box 790034
       St Louis, MO 63179

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Kimberly L. Berry
Kimberly L. Berry                                                     Signature of Debtor 2
Signature of Debtor 1

Date      December 16, 2022                                           Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 9
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                                                       United States Bankruptcy Court
                                                                 Eastern District of Virginia
 In re       Kimberly L. Berry                                                                                Case No.
                                                                              Debtor(s)                       Chapter      13


                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                             IN A CHAPTER 13 CASE
                                      (for use in the Richmond Division only)
1.   Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
     compensation paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
     bankruptcy case is as follows:
         For legal services, I have agreed to accept                                                      $                  5,609.00
         Prior to the filing of this statement I have received                                            $                       0.00
         Balance Due                                                                                      $                  5,609.00

2.   The source of the compensation paid to me was:

                 Debtor              Other (specify)

3.   The source of compensation to be paid to me is:

                 Debtor              Other (specify)

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, as required by Local
         Bankruptcy Rule 2016-1(C)(3).

6.       I am electing to request compensation and reimbursement of expenses in this case:

            a.    In accordance with the “no-look” fee set forth in Local Bankruptcy Rule 2016-1(C)(1)(a) and (C)(3)(a).

            b.    By submitting applications for compensation in the manner set forth in Local Bankruptcy Rule 2016-1(C)(1)(c)(ii).

            An attorney for the debtor that fails to make the election to request compensation pursuant to Local Bankruptcy Rule 2016-1(C)(1)(a) and
            (C)(3)(a) at the commencement of the case will be deemed to have elected to request compensation in the manner set forth within Local
            Bankruptcy Rule 2016-1(C)(1)(c)(ii).
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                                                           CERTIFICATION
       I certify that the foregoing is an accurate statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 16, 2022                                                   /s/ Christopher M. Winslow
     Date                                                                Christopher M. Winslow 76156
                                                                         Signature of Attorney

                                                                         Winslow & McCurry, PLLC
                                                                         Name of Law Firm
                                                                         1324 Sycamore Square
                                                                         Midlothian, VA 23113
                                                                         804-423-1382 Fax: 804-423-1383




                        NOTICE TO DEBTOR(S), STANDING CHAPTER 13 TRUSTEE AND UNITED
                                               STATES TRUSTEE
                             PURSUANT TO LOCAL BANKRUPTCY RULE 2016-1(C) AND
                                         CLERK’S CM/ECF POLICY 9

            Notice is hereby given that pursuant to Local Bankruptcy Rule 2016-1(C), you must file an objection with the court to the fees requested
 in this disclosure of compensation opposing said fees in their entirety, or in a specific amount, no later than the last day for filing objections to
 confirmation of the chapter 13 plan.

                                                            PROOF OF SERVICE
           The undersigned hereby certifies that on this date the foregoing Notice was served upon the debtor(s), the standing Chapter 13 trustee,
 and U. S. trustee pursuant to Local Bankruptcy Rule 2016-1(C) and the Clerk’s CM/ECF Policy 9, either electronically or in paper form (first class
 mail).
    December 16, 2022                                                          /s/ Christopher M. Winslow
    Date                                                                       Christopher M. Winslow 76156
                                                                               Signature of Attorney




[2030edva ver. 01/21]
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Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

Debtor 1              Kimberly L. Berry                                                                       According to the calculations required by this
                                                                                                              Statement:
Debtor 2
                                                                                                                    1. Disposable income is not determined under
(Spouse, if filing)
                                                                                                                       11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the:       Eastern District of Virginia                                          2. Disposable income is determined under 11
                                                                                                                       U.S.C. § 1325(b)(3).
Case number
(if known)
                                                                                                                    3. The commitment period is 3 years.

                                                                                                                    4. The commitment period is 5 years.

                                                                                                                  Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                              10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married. Fill out both Columns A and B, lines 2-11.


   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                 Column B
                                                                                                      Debtor 1                 Debtor 2 or
                                                                                                                               non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                                0.00      $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                           $              0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                             0.00      $
  5. Net income from operating a business,
     profession, or farm                                           Debtor 1
       Gross receipts (before all deductions)                  $              12,636.17
       Ordinary and necessary operating expenses              -$              10,690.04
       Net monthly income from a business,                                                  Copy
       profession, or farm                                     $               1,946.13 here -> $               1,946.13       $
  6. Net income from rental and other real property    Debtor 1
     Gross receipts (before all deductions)          $          9,363.33
     Ordinary and necessary operating expenses      -$          4,443.88
       Net monthly income from rental or other real                                         Copy
       property                                                $               4,919.45 here -> $               4,919.45       $




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                         page 1
            Case 22-33571-KRH                   Doc 1      Filed 12/16/22 Entered 12/16/22 13:09:16                                      Desc Main
                                                          Document     Page 60 of 71
Debtor 1     Kimberly L. Berry                                                                       Case number (if known)



                                                                                                 Column A                      Column B
                                                                                                 Debtor 1                      Debtor 2 or
                                                                                                                               non-filing spouse
                                                                                                 $                  0.00       $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                   $                  0.00       $
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                   0.00
           For your spouse                                       $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any retired
     pay paid under chapter 61 of title 10, then include that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be entitled
     if retired under any provision of title 10 other than chapter 61 of that title.         $                      0.00       $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below.
                                                                                                 $                  0.00       $
                                                                                                 $                  0.00       $
                Total amounts from separate pages, if any.                                  +    $                  0.00       $

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $        6,865.58           +   $                  =    $      6,865.58

                                                                                                                                                   Total average
                                                                                                                                                   monthly income
Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                 $          6,865.58
  13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
             dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
             adjustments on a separate page.
             If this adjustment does not apply, enter 0 below.
                                                                                        $
                                                                                        $
                                                                                      +$

                   Total                                                               $                    0.00           Copy here=>         -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                          $          6,865.58

  15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here=>                                                                                                            $          6,865.58




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 2
           Case 22-33571-KRH                       Doc 1       Filed 12/16/22 Entered 12/16/22 13:09:16                                          Desc Main
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Debtor 1     Kimberly L. Berry                                                                             Case number (if known)


               Multiply line 15a by 12 (the number of months in a year).                                                                                 x 12

       15b. The result is your current monthly income for the year for this part of the form. ...........................................            $     82,386.96


  16. Calculate the median family income that applies to you. Follow these steps:
      16a. Fill in the state in which you live.                                VA

      16b. Fill in the number of people in your household.                      2
      16c. Fill in the median family income for your state and size of household.                                                                    $     86,413.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
      17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
      17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                    1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                    your current monthly income from line 14 above.
Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 .                                                                                   $                   6,865.58
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
    contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
    spouse's income, copy the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                   -$                      0.00


      19b. Subtract line 19a from line 18.                                                                                                       $          6,865.58


20. Calculate your current monthly income for the year. Follow these steps:
      20a. Copy line 19b                                                                                                                             $      6,865.58

             Multiply by 12 (the number of months in a year).                                                                                            x 12

      20b. The result is your current monthly income for the year for this part of the form                                                          $     82,386.96




      20c. Copy the median family income for your state and size of household from line 16c                                                          $     86,413.00


      21. How do the lines compare?

                  Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                  period is 3 years. Go to Part 4.

                  Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                  commitment period is 5 years. Go to Part 4.

Part 4:       Sign Below
      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

   X /s/ Kimberly L. Berry
       Kimberly L. Berry
       Signature of Debtor 1
      Date December 16, 2022
           MM / DD / YYYY
      If you checked 17a, do NOT fill out or file Form 122C-2.
      If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.
Official Form 122C-1        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                              page 3
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Debtor 1   Kimberly L. Berry                                                      Case number (if known)




                                    Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 06/01/2022 to 11/30/2022.

Line 5 - Income from operation of a business, profession, or farm
Source of Income: Blaine Tran Sport LLC
Income/Expense/Net by Month:
                         Date                           Income                          Expense                        Net
 6 Months Ago:                 06/2022                       $21,185.05                        $19,117.14                 $2,067.91
 5 Months Ago:                 07/2022                       $13,774.89                        $10,185.09                 $3,589.80
 4 Months Ago:                 08/2022                        $8,795.34                         $3,402.27                 $5,393.07
 3 Months Ago:                 09/2022                        $9,952.25                        $11,949.83                $-1,997.58
 2 Months Ago:                 10/2022                        $9,318.48                         $9,070.40                  $248.08
 Last Month:                   11/2022                       $12,791.00                        $10,415.48                 $2,375.52
                     Average per month:                      $12,636.17                        $10,690.04
                                                                           Average Monthly NET Income:                       $1,946.13




Line 6 - Rent and other real property income
Source of Income: Anticipated Rent
Constant income of 2,900.00 per month.
Constant expense of 500.00 per month.
Net Income 2,400.00 per month.



Line 6 - Rent and other real property income
Source of Income: Rent
Income/Expense/Net by Month:
                         Date                           Income                          Expense                        Net
 6 Months Ago:                 06/2022                         $5,730.00                         $3,943.88                   $1,786.12
 5 Months Ago:                 07/2022                         $5,730.00                         $3,943.88                   $1,786.12
 4 Months Ago:                 08/2022                         $5,730.00                         $3,943.88                   $1,786.12
 3 Months Ago:                 09/2022                         $5,730.00                         $3,943.88                   $1,786.12
 2 Months Ago:                 10/2022                         $7,930.00                         $3,943.88                   $3,986.12
 Last Month:                   11/2022                         $7,930.00                         $3,943.88                   $3,986.12
                     Average per month:                        $6,463.33                         $3,943.88
                                                                           Average Monthly NET Income:                       $2,519.45




Official Form 122C-1   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                page 5
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




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                        Adrian Gatling



                        Capital One/SaksFirst
                        Attn: Bankruptcy
                        Po Box 30285
                        Salt Lake City, UT 84130


                        Capital One/SaksFirst
                        3455 Hwy 80 West
                        Jackson, MS 39209


                        Charles City County Treasurer
                        P.O. Box 38
                        Charles City, VA 23030


                        Citibank
                        Attn: Bankruptcy
                        P.O. Box 790034
                        St Louis, MO 63179


                        Citibank
                        Po Box 6217
                        Sioux Falls, SD 57117


                        Citibank/The Home Depot
                        Citicorp Credit Srvs/Centralized Bk dept
                        Po Box 790034
                        St Louis, MO 63179


                        Citibank/The Home Depot
                        Po Box 6497
                        Sioux Falls, SD 57117


                        Citizensbk
                        126 S Main St
                        Blackstone, VA 23824


                        City of Petersburg
                        Treasurer
                        Post Office Box 1271
                        Petersburg, VA 23804
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                    Comenitybank/vicsecrmc



                    Commonwealth of VA-Tax
                    P.O. Box 2156
                    Richmond, VA 23218-2156


                    Daniel Smith



                    Freedom Mortgage Corporation
                    Attn: Bankruptcy
                    907 Pleasant Valley Ave, Ste 3
                    Mt Laurel, NJ 08054


                    Freedom Mortgage Corporation
                    P.o. Box 50485
                    Indianapolis, IN 46250


                    Fulton Mortgage
                    P.O. Box 4887
                    Lancaster, PA 17604


                    Internal Revenue Service
                    Centralized Insolvency Unit
                    P O Box 7346
                    Philadelphia, PA 19101-7346


                    Jerry & Phyliss Barnes



                    Jesse Albert Moore
                    208 Fulham Circle
                    Richmond, VA 23227


                    Johnnie Jenkins



                    Kimberly Alice Chandler
                    Chandler Law Firm
                    P.O. Box 17586
                    Richmond, VA 23226
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                    Langley Federal Credit Union
                    Attn: Bankruptcy
                    Po Box 120128
                    Newport News, VA 23612


                    Langley Federal Credit Union
                    721 Lakefront Commons
                    Newport News, VA 23612


                    Macys/fdsb
                    Attn: Bankruptcy
                    9111 Duke Boulevard
                    Mason, OH 45040


                    Macys/fdsb
                    Po Box 6789
                    Sioux Falls, SD 57117


                    Mercedes-Benz Financial Services
                    Attn: Bankruptcy
                    Po Box 685
                    Roanoke, TX 76262


                    Mercedes-Benz Financial Services
                    P.o. Box 961
                    Roanoke, TX 76262


                    Paul Johnson



                    PennyMac Loan Services, LLC
                    Attn: Correspondence Unit
                    Po Box 514387
                    Los Angeles, CA 90051


                    PennyMac Loan Services, LLC
                    Po Box 514387
                    Los Angeles, CA 90051


                    Pete Wink



                    Rebecca D. Berry
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                    Richmond City R/E Tax
                    P.O. Box 26505
                    Richmond, VA 23261


                    Syncb/Old Navy
                    Attn: Bankruptcy
                    Po Box 965060
                    Orlando, FL 32896


                    Syncb/Old Navy
                    P.o. Box 8803
                    Wilmington, DE 19899


                    U.S. Small Adminstration
                    14925 Kingsport Road
                    Fort Worth, TX 76155


                    Virginia Farm Bureau Mutual
                    P.O. Box 27552
                    Richmond, VA 23261


                    Wells Fargo Bank NA
                    1 Home Campus Mac X2303-01a
                    Des Moines, IA 50328


                    Wells Fargo Bank NA
                    Po Box 14517
                    Des Moines, IA 50306


                    Wells Fargo Home Mortgage
                    Attn: Written Correspondence
                    Po Box 10335
                    Des Moines, IA 50306


                    Wells Fargo Home Mortgage
                    Po Box 10335
                    Des Moines, IA 50306
